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Rivaroxaban
Population Pharmacokinetic Analyses in Patients Treated for Acute Deep-Vein
Thrombosis and Exposure Simulations in Patients with Atrial Fibrillation
Treated for Stroke Prevention
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Abstract                  Background and Objective: Rivaroxaban is an oral, direct Factor Xa inhibitor, which is at an advanced stage
                          of clinical development for prevention and treatment of thromboembolic disorders. Two phase II studies,
                          ODIXa-DVT and EINSTEIN DVT, assessed the efficacy and safety of oral rivaroxaban (once daily or twice
                          daily) for treatment of acute deep-vein thrombosis (DVT). Population pharmacokinetic and pharmaco-
                          dynamic analyses of rivaroxaban in patients in these two phase II studies were conducted to characterize the
                          pharmacokinetics/pharmacodynamics of rivaroxaban and the relationship between important patient
                          covariates and model parameters. Exposure simulations in patients with atrial fibrillation (AF) were also
                          performed in order to predict the exposure of rivaroxaban, using modified demographic data reflecting the
                          characteristics of a typical AF population.
                          Methods: A population pharmacokinetic model was developed using plasma samples from these patients.
                          Various simulations were conducted to explore the pharmacokinetics of rivaroxaban in patients with DVT
                          and to predict exposure in those with AF. Correlations between plasma rivaroxaban concentrations and the
                          prothrombin time, Factor Xa activity, HepTest and activated partial thromboplastin time were also
                          described.
                          Results: The pharmacokinetics of rivaroxaban in patients with DVT were found to be consistent and
                          predictable across all doses studied. The area under the plasma concentration-time curve (AUC) increased
                          dose dependently. The same total daily doses given once daily achieved higher maximum plasma con-
                          centration (Cmax) values (~20%) and lower trough (minimum) plasma concentration (Ctrough) values (~60%)
                          than when given twice daily; however, the 5th–95th percentile ranges for these parameters overlapped.
                          Rivaroxaban clearance was moderately influenced by age and renal function, and the volume of distribution
                          was influenced by age, body weight and sex; the effects were within the observed interindividual variability.
                          Simulations in virtual patient populations with AF showed that a rivaroxaban dose of 15 mg once daily in
                          patients with creatinine clearance of 30–49 mL/min would achieve AUC and Cmax values similar to those
                          observed with 20 mg once daily in patients with normal renal function. The prothrombin time correlated
                          almost linearly with plasma rivaroxaban concentrations (£500 mg/L).
                          Conclusion: Population analyses of phase II clinical data indicated that the pharmacokinetics and
                          pharmacodynamics of all rivaroxaban doses were predictable and were affected by expected demographic
                          factors in patients with acute DVT.
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      Background                                                        A population pharmacokinetic model that was generated
                                                                     using data from healthy subjects[21] has previously been extended
   Venous thromboembolism (VTE), manifesting as deep-vein            to describe the pharmacokinetics and pharmacodynamics of
thrombosis (DVT) and pulmonary embolism (PE), is a major             rivaroxaban in patients receiving rivaroxaban for prevention of
cause of morbidity and mortality in the Western world.[1,2] In       VTE after major orthopaedic surgery.[12,13] The aims of the
the US alone, there are at least 200 000 new cases of VTE each       present population analyses were to characterize the pharma-
year.[3] Anticoagulant therapy is recommended for treatment of       cokinetics/pharmacodynamics of rivaroxaban in patients with
VTE, with the primary goal of stopping thrombus growth and           acute DVT. Sparse pharmacokinetic/pharmacodynamic sam-
preventing PE.[4,5]                                                  ples from the DVT dose-ranging studies were used to derive
   Current VTE treatment guidelines recommend initial ther-          a population pharmacokinetic/pharmacodynamic model.
apy with dose-adjusted intravenous unfractionated heparin,           This enabled evaluation of demographic factors (age, sex,
subcutaneous low-molecular-weight heparin (LMWH) ad-                 body weight and renal function) that influence the pharmaco-
justed to body weight, or fondaparinux sodium for at least           kinetics of rivaroxaban when administered once daily or
5 days, followed by long-term treatment with a laboratory-           twice daily in this patient population. A further aim of this
monitored vitamin K antagonist (VKA).[5] VKA therapy has             study was to simulate the pharmacokinetics of rivaroxaban in
drawbacks, including a slow onset/offset of action, a narrow         virtual patient populations with atrial fibrillation (AF). As
therapeutic window, multiple food and drug interactions, and a       patients with AF tend to be older, the pharmacokinetic model
need for dose adjustments according to laboratory monitor-           was adapted to represent a typical AF population in order to
ing.[6] An oral anticoagulant drug that does not require mon-
itoring of its effect, with a rapid onset of action and a high
benefit/risk ratio, is of considerable interest.
                                                                     Table I. Demographics of the deep-vein thrombosis (DVT) treatment pop-
   Rivaroxaban is an oral, direct Factor Xa inhibitor.[7] It has a   ulation (using pooled data from the ODIXa-DVT[18] and EINSTEIN DVT[19]
dual mode of elimination, with two-thirds of the dose being          studies) and of a simulated virtual atrial fibrillation (AF) population
metabolized in the liver (via cytochrome P450 [CYP] 3A4,             Characteristic                        DVT population               AF population
CYP2J2 and CYP-independent biotransformation processes),                                                   (n = 870)                    (n = 1000)
half of which is excreted via the kidneys and half via the           Sex (% male)                          56                           69
hepatobiliary route. One-third of the dose is directly excreted      Age (years)                           61 [18–94]a                  71 [51–92]a
renally as the unchanged active compound.[8,9] Early clinical
                                                                       male <75 years (%)                  47                           50
studies demonstrated that rivaroxaban has strong anticoagulant
                                                                       male ‡75 years (%)                  9                            19
effects and predictable pharmacokinetic and pharmacody-
                                                                       female <75 years (%)                34                           17
namic profiles in healthy subjects.[10,11] These findings were
                                                                       female ‡75 years (%)                10                           14
confirmed in patients undergoing orthopaedic surgery.[12,13]                                   b
                                                                     Normal body weight (kg)
Four large phase III clinical trials (the RECORD [Regulation
                                                                       male                                85 – 17                      NA
of Coagulation in Orthopaedic Surgery to Prevent Deep Vein
                                                                       female                              73 – 16                      NA
Thrombosis and Pulmonary Embolism] programme) showed
that rivaroxaban is more effective than enoxaparin sodium and        LBM (kg)b,c

at least as safe as enoxaparin sodium for prevention of VTE            male                                63 – 8                       61 – 7

after total hip- or knee-replacement surgery.[14-17]                   female                              47 – 5                       47 – 5
   Two large dose-ranging studies evaluated rivaroxaban for          CLCR (mL/min)b,d                      87.4 – 1.5                   58.9 – 1.4
treatment of patients with acute symptomatic DVT.[18,19]             SCR (mg/dL)b                          0.9 – 1.3                    1.2 – 1.3
Combined analysis of the two studies indicates that the optimal      a Median [range].
regimen consists of rivaroxaban 15 mg twice daily for 3 weeks,       b Mean – standard deviation.
followed by once-daily administration of 20 mg for the sub-          c LBM = 1.10 [1.07 if female] · body weight (kg) - 128 [148 if female] ·
sequent treatment period. This regimen is associated with an           [body weight (kg)2/height (cm)2].
efficacy and safety profile that is at least as good as that of      d Calculated according to the Cockcroft-Gault formula: CLCR (mL/min) =
conventional LMWH therapy, and this has been further con-              [140 - age (years)] · [body weight (kg)] · [0.85 if female]/[72 · SCR (mg/dL)].
firmed by the recently completed EINSTEIN DVT phase III              CLCR = creatinine clearance; LBM = lean body mass; NA = not available;
study.[20]                                                           SCR = serum creatinine level.


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Table II. Oral, one-compartment population pharmacokinetic model for rivaroxaban in deep-vein thrombosis patients
Parameter               Mean population             IIV (%CV [SE%])   Description
                        value [SE%]
ka (h-1)                1.23 [5.00]                                   First-order absorption rate constant
F1 20 mg                0.79 [4.20]                                   Relative bioavailability of the 20 mg regimen in relation to the 10 mg regimen
                                                                      (F = 1 per definition)
F1 30 + 40 mg           0.63 [4.00]                                   Relative bioavailability of the 30 and 40 mg regimens in relation to the 10 mg regimen
                                                                      (F = 1 per definition)
CL (L/h)                5.67 [3.70]                 39.9 [7.60]       Clearance
Age on CL (%)           -0.70 [14.6]                                  Percentage of decrease/increase in CL per unit of age (years; assessed at baseline);
                                                                      difference to median age (61 years)
SCR on CL (%)           -2.69 [18.2]                                  Percentage of decrease/increase in CL per 0.1 unit of SCR (mg/dL; as measured over the
                                                                      course of the study); difference to median SCR (0.94 mg/dL)
Vd (L)                  54.4 [3.80]                 28.8 [11.4]       Volume of distribution
LBM on Vd (%)           0.80 [17.8]                                   Percentage of decrease/increase in the Vd per unit of LBM (kg; assessed at baseline);
                                                                      difference to median LBM (56 kg)
Age on Vd (%)           -0.50 [20.8]                                  Percentage of decrease/increase in the Vd per unit of age (age; assessed at baseline);
                                                                      difference to median age (61 years)
Sigma (%)               40.7 [3.20]                                   Proportional residual error
CL = clearance; CV = coefficient of variation; F = bioavailability; IIV = interindividual variability; ka = first-order absorption rate constant; LBM = lean body mass;
SCR = serum creatinine level; SE = standard error; Vd = volume of distribution.




predict rivaroxaban exposure in virtual patient populations                            aroxaban 20, 30 or 40 mg once daily; or standard therapy. The
with AF.                                                                               treatment duration was 12 weeks in both studies.
                                                                                           Sparse blood samples were taken from patients in both
                                                                                       studies shortly after the start of treatment and at steady state.
    Methods                                                                            This technique was chosen because it was not considered re-
                                                                                       alistic for outpatients to return to hospital at frequent intervals
    Studies Included in the Analyses
                                                                                       over the 3-month period. The sampling regimen for ODIXa-
   The ODIXa-DVT (Oral Direct Factor Xa Inhibitor BAY                                  DVT[18] was as follows: on study day 1 or day 2, blood samples
59-7939 in Patients with Acute Symptomatic Deep-Vein                                   were taken 1, 3 and 6 hours after dosing and in the time interval
Thrombosis) study[18] and the EINSTEIN DVT study[19] were                              between 8 hours after dosing and the second daily dose (i.e.
dose-ranging, randomized, comparator-controlled studies,                               8–12 hours after the first dose) before the next dose was given.
which assessed the efficacy and safety of a variety of rivarox-                        Samples were taken on day 2 only when patients had not started
aban regimens for treatment of acute DVT. A total of 1156 pa-                          the study medication before 10:00 on day 1 and were only ad-
tients with confirmed acute, symptomatic, proximal DVT                                 ministered the evening dose. On study day 21, blood samples were
were enrolled. Key exclusion criteria were body weight £45 kg                          taken 1 hour before morning dosing and 1, 3 and 6 hours after
(ODIXa-DVT only[18]), severe renal impairment (calculated                              dosing. In EINSTEIN DVT, baseline samples were collected be-
creatinine clearance [CLCR] <30 mL/min or a serum creatinine                           fore randomization on study day 1 and then 2–6 hours after the
level [SCR] >1.5 · the upper limit of normal [ULN]), severe                            first dose of rivaroxaban. In addition, on study day 43, a sample
hepatic impairment (transaminases >2 · ULN) and systemic                               was taken immediately before the next dose, and on study day 84,
treatment with azole compounds or other strong CYP3A4                                  a sample was taken 2–6 hours after the last rivaroxaban dose.
inhibitors. Patients were randomized to receive either double-
blind rivaroxaban or open-label standard therapy. The studies                             Pharmacokinetic and Pharmacodynamic Assays
evaluated different dosing regimens. Patients in ODIXa-DVT[18]
received rivaroxaban 10, 20 or 30 mg twice daily; 40 mg once daily;                      The plasma rivaroxaban concentrations, Factor Xa activity,
or standard therapy. Patients in EINSTEIN DVT received riv-                            prothrombin time (PT), activated partial thromboplastin time

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                                                                              ODIXa-DVT (bid)     (aPTT) and HepTest (American Diagnostica, Stamford, CT,
                                                                              ODIXa-DVT (od)
                                                                              EINSTEIN DVT (od)   USA) were determined in the same laboratory, using methods
                           14 000
                                           a                                                      described previously.[10] The PT was determined according to
                                                                                                  standard procedures at a central laboratory using STA
                           12 000
                                                                                                  Neoplastine (Diagnostica Stago, Asnières sur Seine, France)
                           10 000                                                                 with an international sensitivity index of 1.82–1.85 and was
   AUC24 (μg • h/L)




                                                                                                  used in the pharmacodynamic investigation.
                                    8000

                                    6000
                                                                                                     Population Pharmacokinetic/Pharmacodynamic
                                    4000                                                             Modelling

                                    2000                                                             Because of the lack of rich pharmacokinetic/pharmacodynamic
                                       0                                                          data, a population-modelling approach, based on the data from
                                           10   20   30        40        50         60      70    the sparse sampling, was used. This analysis provides estimates
                                           b                                                      of population mean values and descriptions of the variability
                                    1000                                                          inherent in a population. In addition, sources of variability, such
                                                                                                  as patient covariates, can be assessed, and post hoc empirical
                                     800                                                          Bayes estimates allow for prediction of individual patient
                                                                                                  pharmacokinetic/pharmacodynamic parameters. All modelling
                      Cmax (μg/L)




                                     600                                                          was based on previously developed models derived from the pop-
                                                                                                  ulation pharmacokinetic/pharmacodynamic analyses in healthy
                                     400                                                          subjects[21] and the ones used to determine the population
                                                                                                  pharmacokinetics/pharmacodynamics in patients undergoing
                                     200                                                          total hip replacement.[12,13]
                                                                                                     Population pharmacokinetic/pharmacodynamic analyses
                                       0                                                          were performed using non-linear mixed-effects modelling
                                           10   20   30        40        50         60      70    software (NONMEM Version V Level 1.1; GloboMax LLC,
                                           c                                                      Hanover, MD, USA) operated in a validated Linux server farm
                                     400
                                                                                                  environment. The first-order conditional estimation with
                                                                                                  interaction method was used for all analyses. All statistics and
                                     300                                                          graphs were generated using S-Plus Version 6 software (In-
                                                                                                  sightful Corp., Seattle, WA, USA) or SAS Version 8.2 software
                 Ctrough (μg/L)




                                                                                                  (SAS Institute Inc., Cary, NC, USA).
                                     200
                                                                                                     NONMEM is a mixed-effects modelling technique used to
                                                                                                  quantify random effects, such as unexplained interindividual
                                     100                                                          variability (IIV) and residual variability, as well as the influence
                                                                                                  of measured patient characteristics or covariates (fixed effects)
                                                                                                  on basic (structural) model parameters (fixed effects).[22] There-
                                       0                                                          fore, the developed population models can be viewed as con-
                                           10   20   30        40        50         60      70    sisting of three sub-models: a structural sub-model, a statistical
                                                      Total daily dose (mg)
                                                                                                  sub-model and a covariate sub-model. The structural pharm-
Fig. 1. Box-and-whisker plots for rivaroxaban dosing in the ODIXa-DVT[18]                         acokinetic or pharmacokinetic/pharmacodynamic sub-model
and EINSTEIN DVT[19] studies: (a) the area under the plasma concentration-
time curve from 0 to 24 hours (AUC24); (b) the maximum plasma con-
                                                                                                  describes the structure, using fixed-effects parameters, and the
centration (Cmax); and (c) the trough (minimum) plasma concentration                              statistical sub-model accounts for variability, using various levels
(Ctrough). All doses were once daily (od) and twice daily (bid) in patients re-                   of random effects, IIV and residual variability. Exponential
ceiving rivaroxaban for treatment of deep-vein thrombosis. The horizontal line
                                                                                                  models were used to account for IIV in the structural parame-
within each box is the mean; the lower and upper limits of the box are the 25th
and 75th percentiles, respectively; the whiskers are the 10th and 90th per-                       ters. Residual variability was investigated as being additive,
centiles; and the circles are the 5th and 95th percentiles.                                       proportional or a combination of both. Local linear relation-

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Table III. Effects of demographic factors on rivaroxaban clearance (CL) and volume of distribution (Vd)
Demographic factor          Effect                                                Example
CL
Age                         Decrease of 0.7% per year older than the median age   Approximately 35% higher exposure in a patient aged 90 years
                            of 61 years (and vice versa)                          (when combined with the effect on the Vd)
Renal function (SCR)        Decrease of 2.7% per 0.1 mg/dL increase above the     Approximately 40% higher exposure in a moderately/severely renally impaired
                            median SCR of 0.9 mg/dL (and vice versa)              patient with SCR of 2.4 mg/dL (approximate CLCR 30 mL/min)
Vd
Age                         Decrease of 0.5% per year older than the median age   Approximately 35% higher exposure in a patient aged 90 years
                            of 61 years (and vice versa)                          (when combined with the effect on CL)
Body weighta                Decrease of 0.8% per 1 kg below the median LBM of     Approximately 15% higher exposure in a patient with LBM of 40 kg
                            56 kg (and vice versa)                                (weighing approximately 45 kg)
Sexb                        Decrease of 19.1% in female patients                  Approximately 19% higher exposure in female patients
a Body weight was expressed as LBM in the final model.
b The effect of sex was not implemented in the final model.
CLCR = creatinine clearance; LBM = lean body mass; SCR = serum creatinine level.



ships were used to link pharmacokinetic/pharmacodynamic para-                          Further selected co-medications, which were being taken
meters with potential continuous covariates; the influence of                      by <10% of subjects – such as CYP3A4 inducers (rifampicin
categorical covariates was expressed as being present/absent.                      [rifampin], carbamazepine, phenobarbital [phenobarbitone],
    The pharmacokinetic or pharmacokinetic/pharmacodynamic                         phenytoin), atorvastatin and aspirin (acetylsalicylic acid) –
model structure was optimized; the goal was to reduce un-                          were evaluated for exposure differences between treatment
explained variability. Model components were incorporated into                     groups in an exploratory, descriptive manner.
the model if the likelihood ratio test showed a p-value of £0.01                       The pharmacokinetic/pharmacodynamic structural models
(a change in the objective function value [OFV] of >6.63). The                     for Factor Xa activity and for the PT, aPTT and HepTest were
model component remained in the model if, after backwards                          developed from a conventional direct-effect linear model (linear
stripping from the full model, the likelihood ratio test showed a                  intercept model) for the PT and a maximum effect (Emax)
p-value of £0.001 (a change in the OFV of >10.8). In addition to                   model, including a baseline effect for Factor Xa activity, aPTT
goodness-of-fit statistics using the likelihood ratio test, goodness-              and HepTest.
of-fit graphs were used to evaluate the adequacy of the model.
    An oral, one-compartment model was used as the starting
                                                                                       Predictions of Exposure Parameters, Validation
point for the structural pharmacokinetic model, with the clearance                     and Simulations
(CL), volume of distribution (Vd) and first-order absorption rate
constant (ka) as parameters. No data are currently available on the                    The pharmacokinetic data obtained from the blood samples
absolute bioavailability (F) of rivaroxaban; therefore, F was used                 taken from patients across both studies were pooled and used
to describe potential differences in the relative bioavailability be-              with the population model to estimate the pharmacokinetic
tween the different dosing regimens. As a result, CL and Vd were                   profile of rivaroxaban in the VTE treatment population. Spe-
modelled as CL/F and Vd/F, respectively.                                           cific exposure parameters for rivaroxaban, such as the area
    The predefined covariates that were evaluated for their in-                    under the plasma concentration-time curve (AUC) and max-
fluence on both the pharmacokinetic and pharmacokinetic/                           imum and trough (minimum) plasma concentrations (Cmax and
pharmacodynamic structural models were the effect of time                          Ctrough, respectively), were estimated for each individual in both
(visit number); dosage; patient covariates (including age, body                    studies for the dosing regimen that he or she received. Simu-
weight, height, body surface area, lean body mass [LBM], body                      lations were conducted to investigate the influence of once-
fat, sex, SCR and CLCR calculated according to the Cockcroft-                      daily or twice-daily dosing on rivaroxaban exposure.
Gault formula);[23] and selected concomitant medications (in-                          Plasma rivaroxaban concentration-time profiles in elderly
cluding opioids, NSAIDs, diuretics and prespecified drugs that                     patients, patients with severe and moderate renal impairment
accelerate gastrointestinal passage).                                              (CLCR £30 mL/min and 30–50 mL/min, respectively) and

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patients with body weight at the upper and lower limits of the                         adisonline.com/CPZ/A20). Visual predictive checks were con-
population were simulated for both once-daily and twice-daily                          ducted to further investigate the validity of the established
doses. The predicted plasma concentrations of rivaroxaban                              models. Individual empirical Bayesian estimates for pharmaco-
once daily and twice daily for each typical patient were grouped                       kinetics and pharmacokinetics/pharmacodynamics were calcu-
demographically and plotted for comparison alongside the                               lated (via the NONMEM post hoc procedure) using population
mean plasma concentration for the entire pooled population.                            means, variation and individual patient information, by simu-
Further simulations were conducted to predict the exposure of                          lating sub-problems (n = 200). The 5th–95th percentile ranges
rivaroxaban for the dosing regimen that was selected for the                           were calculated and compared with the observations (see figure
phase III VTE treatment studies.                                                       S-2a and S-2b in Supplemental Digital Content 1).
   Non-parametric bootstraps (n = 1000) were performed on                                 To predict the exposure of rivaroxaban in virtual patient
the original dataset. All pharmacokinetic/pharmacodynamic                              populations with AF, the DVT treatment population data were
parameters were estimated using the respective final models                            modified to reflect the demographic characteristics of a patient
and analysed via descriptive statistics (see figure S-1 in Sup-                        population with AF. Demographic data from two clinical studies
plemental Digital Content 1, available online at http://links.                         in AF[24,25] were used to represent a typical AF population.

                                                                                                                                                    Male
                                                                                                                                                    Female
                                                                                                                                                    Naïve regression
                          a                                                                      b
                     25                                                                    25



                     20                                                                    20



                     15                                                                    15
                                                                                CL (L/h)
         CL (L/h)




                     10                                                                    10



                      5                                                                     5



                      0                                                                     0
                          0    20            40           60    80      100
                                                                                             300           250     200        150           100        50             0
                                               Age (years)
                                                                                                                          CLCR (mL/min)
                          c                                                                      d
                    120                                                                    120


                    100                                                                    100


                     80                                                                     80
       Vd (L)




                                                                              Vd (L)




                     60                                                                     60


                     40                                                                     40


                     20                                                                     20


                      0                                                                     0
                          0    20            40            60   80      100
                                                                                                 20   40     60   80     100 120 140         160   180      200     220
                                               Age (years)
                                                                                                                         Body weight (kg)

Fig. 2. Relationship between demographic factors and rivaroxaban clearance (CL) and volume of distribution (Vd) in male and female patients: (a) CL and age;
(b) CL and creatinine clearance (CLCR); (c) Vd and age; and (d) Vd and body weight.

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The VTE treatment population data were thus modified to                                                                    Typical patient aged 60 years, weighing 80 kg, CLCR 90 mL/min
                                                                                                                           5th and 95th percentiles
reflect the mean age of the AF population (~70 years), and SCR                                                             Patient aged 90 years, CLCR ~30 mL/min
                                                                                                                           Patient with CLCR ~35 mL/min
values were increased to reflect the decrease in renal function in                                                         Patient aged 90 years, weighing ~45 kg
this population.[26,27]                                                                                                    Patient aged 90 years
                                                                                                                           Patient weighing ~45 kg
                                                                                                                      a
                                                                                                                500
    Results

   Patients (n = 870) from both dose-ranging studies supplied                                                   400

4634 rivaroxaban plasma samples. Overall, there were more
males than females; however, there was a larger percentage of                                                   300
patients aged ‡75 years among the women than among the men
(table I). The average female patient had an LBM approxi-
                                                                                                                200
mately 25% lower than that of the average male patient (median
LBM: 47 kg female, 63 kg male; table I). The average normal


                                                                      Plasma rivaroxaban concentration (μg/L)
body weights were 73 kg and 85 kg for female and male patients,                                                 100

respectively (table I).
                                                                                                                  0
                                                                                                                      0     4          8           12          16          20           24
    Pharmacokinetic Model
                                                                                                                      b
   Using the pooled data, the pharmacokinetics of rivaroxaban                                                   500

were closely described by an oral, one-compartment model, with
the CL, Vd and ka as parameters (table II). Rivaroxaban CL                                                      400
was estimated to be 5.67 L/h, with IIV of 39.9%. The Vd was
estimated to be 54.4 L, with IIV of 28.8% – similar to that
                                                                                                                300
observed in healthy subjects (table II).[13,21] In the final pop-
ulation pharmacokinetic model, inclusion of the covariates age
and SCR decreased the IIV in CL from 42% to 40%, and in-                                                        200

clusion of the covariates LBM and age decreased the IIV in
the Vd from 32% to 29%. No time-dependent effects on the                                                        100
pharmacokinetics of rivaroxaban were detected in patients over
the 12-week course of the studies.
                                                                                                                  0
   The rivaroxaban AUC increased dose dependently with                                                                0     2          4           6           8           10           12
both once-daily and twice-daily dosing; similar AUCs were                                                                           Time after administration (hours)
obtained for both once-daily and twice-daily dosing (figure 1a).
                                                                     Fig. 3. Predicted plasma rivaroxaban concentration-time profiles for extremes
When comparing the same total daily doses, the Cmax was higher       in age, renal function and body weight for patients receiving (a) rivaroxaban 20 mg
(~20%) and the Ctrough was lower (~60%) with once-daily dosing       once daily or (b) rivaroxaban 10 mg twice daily. The simulated patients had typical
than with twice-daily dosing; however, the 5th–95th percentile       mean characteristics (age 60 years, body weight 80 kg, creatinine clearance
                                                                     [CLCR] 90 mL/min) unless specified otherwise.
ranges for these parameters overlapped (figure 1b and 1c).
   Demographic factors influencing the CL of rivaroxaban                                                        Effect of Demographic Factors on Rivaroxaban Exposure
were age and renal function (expressed as CLCR); the Vd of
rivaroxaban was influenced by age, body weight and, indirectly,         In all once-daily and twice-daily simulations, plasma rivarox-
by sex (table III). Variations in the rivaroxaban CL and Vd due      aban concentrations reached the Cmax 2–4 hours after adminis-
to these demographic characteristics were moderate and within        tration (figure 3). In all once-daily and twice-daily simulations, age
the IIV observed in patients enrolled in the two studies. Ne-        and renal function had a moderate influence on rivaroxaban ex-
gative correlations were observed between age and both the CL        posure; the influence of body weight was small. The Cmax for all
and Vd of rivaroxaban, as well as the CLCR and CL of rivar-          simulations was within the 5th–95th percentile ranges of the
oxaban, whereas a positive correlation was observed between          population mean; this included a simulation of a typical patient
the Vd and body weight (figure 2).                                   aged 90 years with severe renal impairment (CLCR £30 mL/min).

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   Simulations of the phase III VTE treatment dosing regimen                                                                                                                           Observed
                                                                                                                                                                                       Population mean (model)
(rivaroxaban 15 mg twice daily for 3 weeks followed by rivar-                                                                            60

oxaban 20 mg once daily) demonstrated that the transition
from twice-daily to once-daily dosing should not expose                                                                                  50

patients to substantial fluctuations in the Cmax (figure 4).
                                                                                                                                         40




                                                                                                                          PT (seconds)
                                           Effect of Concomitant Medications on the                                                      30
                                           Pharmacokinetics of Rivaroxaban
                                                                                                                                         20
   The absorption of rivaroxaban increased slightly with con-
comitant administration of drugs that accelerate passage                                                                                 10
through the gastrointestinal tract (e.g. laxatives, metoclopra-
mide; n = 48) and decreased slightly when administered with                                                                              0
                                                                                                                                              0   200   400      600     800    1000      1200     1400      1600
opioids. Both of these influences resulted in a less than 15%
                                                                                                                                                        Plasma rivaroxaban concentration (μg/L)
change in the absorption rate and did not significantly affect
overall exposure to rivaroxaban. Diuretics, NSAIDs and aspi-                                                             Fig. 5. Plasma rivaroxaban concentration-effect relationship for the pro-
                                                                                                                         thrombin time (PT) analysis, showing the observed and population mean
rin did not have any relevant effect on the pharmacokinetics of
                                                                                                                         (model) values.
rivaroxaban. In a cohort of 28 patients, concomitant adminis-
tration of drugs that are known for their potential to strongly                                                              Plasma rivaroxaban concentrations of up to approximately
induce CYP3A4, such as carbamazepine, phenobarbital and                                                                  500 mg/L correlated with the PT in an almost linear fashion
phenytoin, resulted in a reduction of up to 50% in rivaroxaban                                                           (figure 5). The slope of the correlation became non-linear at
exposure, irrespective of the dose and dosing regimen.                                                                   higher plasma rivaroxaban concentrations. At steady state, the
                                                                                                                         baseline PT was estimated to be 12.5 seconds and the slope of the
                                           Correlation between Plasma Rivaroxaban Concentrations
                                                                                                                         correlation was 3.3 seconds/100 mg/L. The residual variability was
                                           and Pharmacodynamics                                                          low (10.3%). Renal function had a small effect on the gradient of
                                                                                                                         the slope (less than 23% maximum for the CLCR range in this
  The concentration-effect relationships for all pharmacody-                                                             study population). No other demographic factors or concomitant
namic parameters (the PT, Factor Xa, HepTest and aPTT)                                                                  medications had a significant effect on the relationship between
were broadly consistent with the previous findings[12] and                                                               the plasma rivaroxaban concentration and PT.
showed rapid, direct responses to rivaroxaban treatment.                                                                     The plasma rivaroxaban concentration and inhibition of
                                                                                                                         Factor Xa activity correlated following an inhibitory Emax
                                                                                              Median
                                                                                              5th and 95th percentiles
                                                                                                                         model. Age had a small effect on baseline Factor Xa activity,
                                           600        15 mg bid for 3 weeks               Switch to 20 mg od
                                                                                                                         although the clinical relevance of this is unknown. No covari-
 Plasma rivaroxaban concentration (μg/L)




                                                                                                                         ates were found to exhibit significant effects on the Emax-type
                                           500                                                                           relationship between rivaroxaban concentrations and the
                                                                                                                         HepTest (data not shown). Because of the high variability in
                                           400
                                                                                                                         the aPTT response (which was consistent with previous find-
                                           300                                                                           ings), and the low sensitivity of the aPTT to rivaroxaban seen in
                                                                                                                         this study, concentration-effect modelling for this pharmaco-
                                           200
                                                                                                                         dynamic parameter was limited, and thus no definitive Emax-
                                           100
                                                                                                                         type exposure relationship could be established.

                                             0
                                                 1        2          20          21        22          23          24                Prediction of the Pharmacokinetics of Rivaroxaban in
                                                                              Study day                                              Patients with Atrial Fibrillation
Fig. 4. Simulated venous thromboembolism treatment dosing regimen of
rivaroxaban 15 mg twice daily (bid) for 3 weeks, followed by rivaroxaban                                                    Compared with patients with DVT, patients with AF tended
20 mg once daily (od) [N = 870].                                                                                         to be older and to have decreased renal function. Thus, modified

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DVT population demographics (such as age and CLCR) were                                                                                                                   20 mg od (CLCR >50 mL/min)
                                                                                                                                                                          20 mg od: 5th and 95th percentiles
used to simulate a population of 1000 patients with AF (table I).                                                                                                         15 mg od (CLCR ≤50 mL/min)
                                                                                                                                                                          15 mg od: 5th and 95th percentiles
Using this virtual AF population and the pharmacokinetic                                                                         450
model that was established above, the average Cmax of rivar-




                                                                                       Plasma rivaroxaban concentration (μg/L)
                                                                                                                                 400
oxaban in AF patients was predicted to be 7.4% higher than
                                                                                                                                 350
that in DVT patients (290 mg/L vs 270 mg/L), albeit within the
5th–95th percentile ranges in the average DVT patient receiving                                                                  300

the same dose. The difference in the Ctrough between the AF and                                                                  250



                                                                                
DVT populations was more pronounced (32 mg/L vs 25.5 mg/L;                                                                       200


                          
a 25.5% increase), as was the difference in the AUC (3310 mg h/L
                                                                                                                                 150
vs 2870 mg h/L; a 15.3% increase).
   Simulations were conducted to determine which demo-                                                                           100

graphic factors influenced the increase in rivaroxaban expo-                                                                      50
sure that was observed in AF patients. These simulations                                                                           0
demonstrated that moderate renal impairment (i.e. CLCR                                                                                 0   2   4   6      8     10   12     14     16    18    20    22     24
                                                                                                                                                       Time after administration (hours)
30–49 mL/min) and, to a lesser extent, increased age (‡75 years)
led to a slight increase in rivaroxaban exposure (figure 6) be-                        Fig. 7. Plasma rivaroxaban concentration-time profiles for the simulated
cause of reduced clearance, a prolonged elimination half-life                          virtual atrial fibrillation population. For patients with creatinine clearance
                                                                                       (CLCR) >50 mL/min, results from rivaroxaban 20 mg once daily (od) are
and increased Ctrough values. Body weight and sex did not in-                          shown; for patients with CLCR £50 mL/min, results from rivaroxaban 15 mg od
fluence rivaroxaban exposure.                                                          are shown.


                                                                            20 mg od       The simulated plasma concentration-time profile for AF
                                                                            15 mg od
                   8000                                                                patients with normal renal function receiving 20 mg once
                                                                                       daily was similar to the estimated plasma concentration-time
                                                                                       profile for DVT patients receiving the same dose. In the AF and
                   6000                                                                DVT populations, the Cmax values were 274 mg/L and 270 mg/L,


                                                                                                                                                                                               
                                                                                       respectively; the Ctrough values were 30 mg/L and 25.5 mg/L,


                                                                                                                                       
                                                                                       respectively; and the AUC values were 3120 mg h/L and
AUC24 (μg • h/L)




                                                                                       2870 mg h/L, respectively. Simulations of AF patients with
                   4000
                                                                                       moderate renal impairment were compared for patients receiving
                                                                                       rivaroxaban 15 mg once daily or 20 mg once daily. The increase in
                                                                                       rivaroxaban exposure due to decreased renal function in this si-
                   2000
                                                                                       mulation was corrected by dose adjustment to 15 mg once daily
                                                                                       (figure 7).

                      0
                                                                                                                                 Discussion and Conclusion
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                                                                                          These analyses of phase II DVT dose-ranging studies in-
                                                                      0
                                                                 ≤5




                                                    Treatment group                    dicate that the pharmacokinetics and pharmacodynamics of
Fig. 6. Rivaroxaban exposure, expressed as the area under the plasma                   rivaroxaban at all doses that were tested (20–60 mg total daily
concentration-time curve from 0 to 24 hours (AUC24), for the total simulated           doses, administered either once daily or twice daily) were pre-
virtual atrial fibrillation population compared with individual demographic            dictable and were affected by the expected demographic factors
extremes: age ‡75 years, lean body mass (LBM) £50 kg, serum creatinine
level (SCR) ‡1.2 mg/dL and creatinine clearance (CLCR) £50 mL/min. For
                                                                                       in DVT patients.
CLCR £50 mL/min, results from rivaroxaban 20 mg once daily (od) and 15 mg                 The pharmacokinetic/pharmacodynamic data from the two
od are shown; for the other simulations, only results from rivaroxaban 20 mg           dose-ranging studies were used in these analyses.[18,19] In these
od are shown. The horizontal line within each box is the mean; the lower and
                                                                                       studies, a sparse sampling technique was used. As a result of this
upper limits of the box are the 25th and 75th percentiles, respectively; the
whiskers are the 10th and 90th percentiles; and the circles are the 5th and            sparse sampling approach, the pharmacokinetic/pharmaco-
95th percentiles.                                                                      dynamic data over time were incomplete, and population

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modelling was used to derive the full pharmacokinetic and           expected, when comparing the same total daily doses, rivar-
pharmacodynamic profiles of rivaroxaban.                            oxaban given once daily demonstrated a higher Cmax and
   The demographic factors that were identified as affecting the    a lower Ctrough than when given twice daily; however, the dif-
rivaroxaban CL and Vd were consistent with previous findings        ferences were within the 5th–95th percentile ranges for the
in healthy subjects and in patients receiving rivaroxaban for       population median. This suggests that once-daily dosing of
prevention of VTE after total hip- or knee-replacement sur-         rivaroxaban should not expose patients to a greater risk of
gery.[13,21] Approximately one-third of rivaroxaban is excreted     bleeding (at the Cmax) or thrombus growth (at the Ctrough) than
unchanged by the kidneys;[8,9] therefore, it was anticipated that   twice-daily dosing, as discussed when the two clinical trials were
renal function, which decreases with age,[28] would affect the      compared.[18,19]
pharmacokinetics of rivaroxaban. In this analysis, both in-            Concomitant administration of long-term medications that
creased age and decreased renal function led to a decrease in       are frequently prescribed to patients within this population,
rivaroxaban CL.                                                     including diuretics, NSAIDs and aspirin, did not have any
   The Vd was moderately affected by age, body weight and,          relevant effect on the pharmacokinetics of rivaroxaban, sug-
indirectly, by sex. As expected, body weight correlated directly    gesting that it may be possible to co-administer rivaroxaban
with the Vd. The influence of sex is probably due to the dif-       with these medications.
ference in body weight between male and female patients; fe-           The slope of the plasma concentration-PT correlation graph
male patients had a lower average body weight than males and,       reflected the sensitivity of the PT to increases in rivaroxaban
therefore, a decreased Vd. The influence of age is also probably    exposure. The PT correlated in an almost linear fashion with
related to sex/body weight factors: in this study population, sex   rivaroxaban concentrations £500 mg/L, confirming that the PT
distribution was not constant across the age groups, with higher    could be used to assess exposure. The correlation became non-
percentages of females in the older age groups. Therefore, the      linear at higher plasma rivaroxaban concentrations; however,
average body weight of older patients was lower than the            there were very few data points at such high concentrations,
average body weight of the whole population, leading to a de-       which in turn are unlikely to be observed in routine clinical
creased average Vd in elderly patients.                             practice. However, the commercially available PT tests, which
   Rivaroxaban exposure was affected by changes in the CL           provide results as percentages of normal and/or convert the
and Vd. Elderly patients and those with a lower body weight         results into international normalized ratio values, should not be
had a slight decrease in the CL and Vd, leading to a slight         used for assessing the anticoagulant effect of rivaroxaban. The
increase in rivaroxaban exposure. Using this population model,      pharmacodynamic effects of rivaroxaban as measured by the PT
it would theoretically be possible to predict the effects of riv-   are strongly affected by the type of PT reagent used and, as a
aroxaban in patients with severe renal impairment; however, as      result, international normalized ratio values obtained with rivar-
with other drugs that have been evaluated in clinical trials,       oxaban do not correlate with the intensity of anticoagulation[12,29]
patients with severe renal impairment were excluded from these      and cannot be used to predict the efficacy and safety of the drug.
phase II studies. Patients with moderate-to-severe renal im-           The prevalence of both AF and renal impairment increases
pairment (CLCR approximately 30 mL/min) had a moderate              with age;[28,30] therefore, patients with AF often have decreased
decrease in the CL and Vd, leading to a moderate increase in        renal function. This analysis suggests that increased rivarox-
rivaroxaban exposure. However, the predicted Cmax of rivar-         aban exposure in patients with AF may be caused by reduced
oxaban for all patients was within the 5th–95th percentile          rivaroxaban clearance due to reduced renal function. A dose of
ranges calculated for the average patient in the population.        rivaroxaban 20 mg once daily was chosen for investigation in
   Pharmacokinetics and pharmacokinetics/pharmacodynamics           the phase III trial ROCKET AF (Rivaroxaban Once Daily
were consistent over the 12-week duration of the studies. The       Oral Direct Factor Xa Inhibition Compared with Vitamin K
variability in the pharmacokinetics of rivaroxaban in this pa-      Antagonism for Prevention of Stroke and Embolism Trial in
tient population was moderate and comparable with previous          Atrial Fibrillation).[31] However, a lower fixed dose of 15 mg
results.[12,13,21] The pharmacokinetics of rivaroxaban were         once daily was chosen for patients with moderate renal im-
similar when given once daily or twice daily. Dose-dependent        pairment (CLCR 30–49 mL/min) in order to assess the effect of
increases in rivaroxaban exposure were observed with all once-      this reduced dose in this specific patient population. This anal-
daily and twice-daily doses, in line with findings in healthy       ysis suggests that renally impaired patients receiving the lower
subjects and in patients receiving rivaroxaban for prevention       dose should have similar exposure to that of patients with
of VTE after total hip- or knee-replacement surgery.[13,21] As      normal renal function receiving rivaroxaban 20 mg once daily.

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   In summary, the pharmacokinetics and pharmacodynamics                HealthCare. Both Wolfgang Mueck and Frank Misselwitz own limited
of all rivaroxaban doses in the two DVT dose-ranging studies            stock in Bayer AG. Hervé Decousus is a member of the study management
were found to be predictable and were affected by anticipated           and coordination committee for the EINSTEIN Study Programme and
                                                                        has received grants from Bayer HealthCare. Giancarlo Agnelli and Paolo
demographic factors, whether rivaroxaban was administered
                                                                        Prandoni have no conflicts of interest to declare.
once daily or twice daily.                                                 The authors would like to thank Dagmar Klein, Ulrike Krueger and
   This analysis, combined with the efficacy and safety results from    Matthias Frede for their excellent technical assistance, and to acknowledge
the DVT dose-ranging studies,[18,19] led to the selection of an in-     Shahid Salaria, who provided editorial assistance with funding from Bayer
tensified 15 mg twice-daily dose of rivaroxaban for 3 weeks, fol-       HealthCare and Johnson & Johnson Pharmaceutical Research & Devel-
                                                                        opment, LLC.
lowed by a long-term 20 mg once-daily dose for evaluation in the
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come was major bleeding. The results showed that rivaroxaban                  aban, an oral, direct Factor Xa inhibitor, in rats, dogs and humans. Drug
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Anthonie Lensing and Frank Misselwitz are employees of Bayer                  2008 Jul; 372 (9632): 31-9

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      Stroke prevention with the oral direct thrombin inhibitor ximelagatran            E-mail: wolfgang.mueck@bayer.com




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